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Inmate Message — Application of Federal Time Credits toward RRC/HC for Individuals
with Unresolved Pending Charges

Under the First Step Act, individuals with Minimum or Low Recidivism Risk Level and have
earned Federal Time Credits greater than the 365 days applied to early transfer to Supervised
Release are eligible to apply those additional credits toward halfway house and/or home
confinement regardless of their detainer status and/or unresolved pending charges. This
benefit also applies to non-US. citizens as long as they have not received a final order of
deportation or removal.

Over the next several weeks, unit teams will begin the process of referring these individuals for
pre-release placement. Prior to completing the referrals, Correctional Systems will also be
verifying the current status of any detainer and/or unresolved pending charges.

It is important to understand that while we will begin the process of referring individuals to
halfway house and/or home confinement, placement in the community does NOT eliminate the
outstanding detainers and/or pending charges. Meaning - if you are in halfway house and/or
home confinement and have detainers and/or pending charges, you are at significantly higher
risk to be arrested due to active warrants, and an arrest will result in a technical escape for
you and an interruption in your federal sentence as the Bureau will have lost primary
jurisdiction.

Because this referral is based strictly the FSA time credits and not a needs-based Second
Chance Act recommendation, you can voluntarily choose not to participate in the FSA
placement. Further, as the placement is voluntary, choosing not to participate will have no
impact on the Federal Time Credits applied toward your early release.

If you wish to not participate in a community prerelease placement due to detainers and/or
unresolved pending charges and increased risk of arrest, please submit an Inmate Request to
Staff Member to your Unit Team right away.

